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EXHIBIT 18
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION,

Plaintiffs,

Civil Action No.
98-CV-559]

ve:

ALBERTO R. GONZALES, in his official
capacity as Attomey General of the United ©
States,

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Defendant.

POWELL’S BOOKS RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST SET
OF INTERROGATORIES

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Powell’s

Books (“Plaintiff”) responds and objects to Defendant Alberto R. Gonzales’s First Set of

_ Interrogatories (“Interrogatories”) as follows: ... .

GENERAL OBJECTIONS

1. Plaintiff obj ects to the Interrogatories to the extent the instructions and demands therein
purport to impose obligations in addition to, beyond, or different from those set forth in
the Federal Rules of Civil Procedure and the Rules of Civil Procedure of the United
States District Court for the Eastern District of Pennsylvania.

2. Plaintiff objects to the Interrogatories to the extent they call for the identification or
disclosure of information that is neither relevant to the claims and defenses of any party
in this action nor reasonably calculated to lead to the discovery of admissible evidence.
Plaintiff submits these responses and obj ections without conceding the relevance or

materiality of the subject matter of any interrogatory.
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INTERROGATORY NO. 13

For each website plaintiff, identify a representative sample of webpages on your

website which contains material about which you fear prosecution under COPA, as referenced in

Paragraph 2 in the section titled “The Impact of COPA on Plaintiffs” on page 24 of the Amended

Complaint that “[P]laintiffs fear prosecution under COPA for communicating, sending,
displaying, or distributing material that might be deemed ‘harmful to minors’ by some
community in the United States.”
RESPONSE TO INTERROGATORY NO. 13

Plaintiff objects that this Interrogatory is premature, unreasonably cumulative and

duplicative of Document Request No. 1, and calls for identification of information that is in the

. public.domain. Plaintiff also objects that the phrases used to define “representative sample,”

including “distribution of characteristics,” “degree of explicitness of sexual content,” and
“population or universe” are vague and ambiguous. Subject to the foregoing and to the General
Objections, Plaintiff refers to the web content identified in the Amended Complaint and responds
as follows:
Plaintiff's website contains webpages that advertise books and DVDs that address
sexual issues, contain candid and explicit discussions of sexual matters and/or contain sexually
explicit content including but not limited to depictions of sexual act, images of human genitalia

and nude men and'women. These webpages may contain reviews of a given book or DVD, and

the webpages of books may contain textual excerpts. The reviews and excerpts contained on

these pages may contain frank discussions of sexual matters and/or contain sexually explicit

content. Example of these webpages include:

10
Case 2:98-cv-05591-LR Document 292-14 Filed 09/07/06 Page 4 of 34

1) “The Straight Girl’s Guide to Sleeping With Chicks”
http://www. powells.com/biblio?show-TRADE%20PAPER:NEW: 0743258533:12.00&page=exc
erpt#page (last viewed October 24, 2005);
2)“She Comes First: The Thinking Man’s Guide to Pleasuring a Woman”
http://www powells.com/biblio?show-H ARDCOVER:NEW:006053 8252:22.95&page=excerpt#
page (last viewed October 24, 2005);
3) “The Best American Erotica 2005”
http://www.powells.com/biblio?show=TRADE%20PAPER: SALE: 074325 8509:6.98&page=exc:
erpt#page (last viewed October 24, 2005);

4) “My Horizontal Life: A Collection of One-Night Stands”

__ http://www .powells.com/cgi-bin/biblio?inkey=7-1582346186-0.(last viewed October.24, 2005); 0.

5) “The Sexual Life of Catherine M.”
http://ivwrw powells.com/biblio?show=TRADE%20P APER-USED :08021 39868:8.95#synopses_
and_reviews (last viewed October 24, 2005);

6) “Come Hither: A Commonsense Guide to Kinky Sex”
nitp://nww:powells.com/biblio?show=TRADEY%20P APER:NEW:0684854627:14,008epage=exe
erpt#page (as viewed October 24, 2005); -

7) “The Mammoth Book of Illustrated Erotica” http://www powells.com/cgi-
bin/biblio?inkey=2-0786709219-3 (last viewed October 24, 2005);

8) “Love Lust Desire: Masterpieces of Erotic Photography for Couples”

http://www.powells.com/cgi-bin/biblio/1560253096 (last viewed October 24, 2005).

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Powells Books - Joy ge Gey Sex ull Reyiweg FDP AB RIAN AEM 202-14 Filed OO/CHTRIE™ PARR a ERE ilo!2-0060012749-0

1 of 3

Joy of Gay Sex Fuily Revised 3RD Edition
by Charles Silverstein

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Synopses & Reviews
Publisher Comments:
Anus

Culturally induced ears have given many people phobias about their assholes. This bias against the anus is
unreasonable. True, it is used for elimination, but so is the penis — yet that objection has not made the
latter organ any less attractive. The anus is not only an avenue for elimination but also a sexual organ. It is
highly sensitive, as it is lined with particularly responsive nerve endings. Moreover, the anus is close to the
prostate gland, and its stimulation is highly pleasurable.

All trace of shit can be banished if one takes an enema before intercourse. Every drugstore sells disposable
enemas or convenient bulb-shaped plastic ones. Most men who use them regularly keep them in their
shower. Daily use of enemas, however, should be avoided, as it could create psychological dependence
and/or physical damage to the small intestines. People who are just beginning to experiment with anal sex
sometimes fear that sticking a large cock up the anus will tear the skin; proper lubrication and relaxation,
however, will prevent pain or damage (see "First Time).

More experienced men often worry that by repeatedly getting fucked they will lose muscle tone in their
asshole. There is no research on this problem, but it seems that many of these worries are probably
unfounded and may cover up feelings of guilt (see "Guilt). One occasionally finds gay men who disparage
achieving sexual pleasure through their anuses. This might be a result of low self-esteem caused by the
archaic notion that only women get fucked. This is both an insult to their own bodies and historically
wrong, since men have found pleasure in their assholes since the time of the cavemen, as we've learned

_ frompictographs. Barebacking

Barebacking — fucking without a condom — is the single most dangerous sex practice there is (see
"Dangerous Sex). As a method of sexual gratification, it's as old as recorded history. Until the arrival of
AIDS, gay men never used condoms when fucking. In fact, pulling out before you came was considered
rude. Until the mid-1980s, condoms were deemed kinky, a sex toy among gay men (see "Condoms). The
AIDS epidemic caused a change in our way of having sex. As of December 2000, 775,000 people in the
United States had been diagnosed with AIDS (the figure for HIV disease is much higher). One-half million
have died (see HIV Disease). The worldwide statistics are even more alarming. Since we know so much

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about the transmission of the virus, fucking someone without a condom is equivalent to two men playing
Russian roulette with each other.

Younger men seem to be more attracted to barebacking. Perhaps these risk-taking men haven't watched
the slow death of lovers and friends. For them, AIDS is history, like their learning about the Vietnam War.
It's simply not in their experience, as it is for an older generation of gay men. That's too bad, because it's a
statistical certainty that some of them are going to pay a price — the diagnosis of HIV disease.

It would be a mistake, however, to look at barebacking only from a moral perspective. Recent research
informs us that emotional problems influence a gay man's sexual behavior, including his contribution in
transmitting the HIV. Depression is the main culprit. Gay men who are depressed, including both acute and
chronic depression, are far more likely to participate in unsafe sex (see "Depression; "Safe Sex). Menwith
impulsive personalities, especially excitement seekers, are another category of psychologically impaired
gay men. They generally describe themselves as "spontaneous," a claim that is untrue. A man who is
spontaneous can make voluntary choices about his behavior; an impulsive man cannot. Both depression and
impulsiveness can be effectively treated by both medication and psychotherapy.

If you have a friend who is endangering his life by barebacking, ask yourself whether psychological
problems might be the cause. If so, taking a moral approach won't change his behavior (nor will accusing
him of stupidity). Help him to make an appointment with a shrink, but only one well versed in gay sex and
HIV research.

How does a responsible gay man (like you) fulfill his sexual desires, but not endanger himself and other gay
men? If you're going to fuck, carry condoms. Have them in your night table in your bedroom. Insist that
your sex partner use one if he's going to fuck you — "Put the condom on or put your clothes on." Ignore the
entreaties of a man who says, "You can fuck me without a condom,” especially since you can be sure that
he said the same thing to the man who fucked him last night, and the night before, and ...(see “Sexually
Transmitted Diseases). If, for some reason — either you are under the influence of alcohol or recreational
drugs or a mix of both — you do bareback, be sure to get tested about a month later (see “Booze and Highs;
"Drug Abuse; "Drugs and Sex).If you test negative, get tested again in two more months. If you believe that
the man who fucked you might be HIV-positive, treatment with AZT is available.

There may be a day when condoms are no longer necessarybecause AIDS scientists have successfully
produced a vaccine. That's still years off. In the meantime, lovers who are both HIV-negative and who
never trick out need not worry about the HIV or STDs.

Synopsis:
For a new century and a new generation of readers comes a fully revised and expanded edition of a classic
guide to gay sex, love, and life.

Invaluable as a sex guide, a resource on building self-esteem, and a trusted aid for coming out of the
closet, The Joy of Gay Sex covers the ins and outs of gay life alphabetically from "anus" to “wrestling.”
Noted psychologist Dr. Charles Silverstein has collaborated once again with critically acclaimed novelist
Felice Picano on this third edition, updating every single entry and adding nearly thirty new entries. The
authors provide positive and responsible advice on safe sex in all its varieties; on emotional and
relationship-oriented issues such as long-term couples, loneliness, and growing older; and on scores of

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diverse topics ranging from spirituality to online dating. With fifty new line drawings by acclaimed

illustrator Joseph Phillips, this landmark reference is a necessary addition to every gay man's bookshelf.

About the Author

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Dr. Charles Silverstein is a licensed psychologist in private practice in New York City. He is best known for
his presentation before the Nomenclature Committee of the American Psychiatric Association that led to
the removal of homosexuality as a mental illness from the organization?s Diagnostic and Statistical Manual.

What Our Readers Are Saying

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Product Details

ISBN: 0060012749

Subtitle: Fully Revised and Expanded Third Edition
Author: Silverstein, Charles
Author: Silverstein, Charles
Author: Picano, Felice

Publisher: HarperCollins Publishers
Subject: Gay Studies

Subject: Sexual Instruction

Edition Number: 3

Edition Description: Fully Revised a
Publication Date: May 2004
Binding: Paperback

Language: English

Pages: 352

Dimensions: 916x712x81 133

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The Many Joys of Sex Toys: The Ultimate How-To Handbook for
Couples and Singles

by Anne Semans | ADD TO CART =

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Synopses & Reviews

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will walk you through the process of choosing, buying, and having a Palm reader ebooks, $10.36

creative blast with your sex toys.

Couples and singles alike can enjoy the twenty-five popular sex-toy activities, laid out like recipes, and
complete with tips for spicy variations. Illuminating chapters like “G Marks the Spot” and “The Blissful
Buzz” offer readers the tools they need to play confidently in bed, while ten sultry sex-toy stories are

guaranteed to whet the appetite for improvisation. By following the simple steps in The Many Joys of
Toys, you can easily learn how to:

-Add vibrators to favorite sex positions

-Spice up your masturbation routine

-Have multiple orgasms

-Liven up oral sex

‘Give a better hand job

‘Get comfortable with anal sex

Sex

With sex-toy Web sites thriving and sex toy parties sweeping the nation (move over, Tupperware), this

unique guidebook provides a perfect dose of inspiration to get those toys fired up and ready to roll.

Review: .
”Anne Semans delivers the goods about the goodies. One thing | know is that people want accurate,

practical and “how-can-l-use-it” information in all areas of sexuality. The Many Joys of Sex Toys does just

that.”

—Lou Paget, author of The Big O and 365 Days of Sensational Sex

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“Anne Semans gives a whole new meaning to ‘toys are us’!”

—Sue Johanson, host of Talk Sex with Sue Johanson, The Oxygen Network

Synopsis:

The coauthor of the classic sex manual "The Good Vibrations Guide to Sex” nowlays out the top sex toy
techniques like recipes in a cookbook, step by step, complete with tips for spicy variations on many

themes.

What Our Readers Are Saying

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Product Details

ISBN: 0767916808

Subtitle: The Ultimate How-To Handbook for Couples and Singles
Author: Semans, Anne

Author: Semans, Anne

Publisher: Broadway Books

Subject: Human Sexuality

Subject: Sexual Instruction

Subject: Sex

Subject: Sex customs

Subject: Sexual excitement

Edition Description: Includes bibliographical references.
Series Volume: v. 104

Publication Date: September 2004

Binding: Paperback

Language: English

Illustrations: Y

Pages; 320

Dimensions: 806x610x82 102

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The Straight Girl's Guide to Sleeping with Chicks
by Jen Sincero

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Excerpt
introduction: The Joy of Sex with Chicks | THIS TITLE IN OTHER FORMATS:
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1 think my first sexual encounter with a member of the same sex | Microsoft reader ebooks, $7.19
happened when | was seven. My friend Wendy and | would spend hours Palm reader ebooks, $7.19

playing with these little plastic Fisher-Price people who came with cars

and houses and villages and stuff. We'd make up stories about them, have

them go to work and cook dinner, and when they were bad we'd send them off to The Big Ween. "Uh-oh,
Sally didn’t do her homework again,” Wendy would say, kicking off her panties and lying on the floor. She'd
hold terrified little plastic Sally up in the air and announce to the entire Fisher-Price community that "Sally
was bad and must go to The Big Ween," then slowly lower the toy between her legs. I'd watch mesmerized
as Wendy rubbed Sally around and around, stopping only when Wendy's My First Pussy had gotten its fill.
Inevitably, moments later, my own Mr. Smith would wind up telling a lie or robbing the Fisher-Price bank
and my panties would go flying across the room. “Uhhhh-ohhhhhh!"

I'm not sure if this counts as sex, since there were actually two The Big Weens, Wendy overseeing
operations at hers and me at mine, but | do know that for me it wasn't all innocent play. | was a really
sexual kid who started masturbating at around five years old, and who was constantly getting sent to my
room for greeting company with my hand down my pants. So | find it kind of surprising, since | was such an
early enthusiast and a curious person in general, that it took me until my thirties to really get down and
dirty with another woman. I'd done my fair share of dabbling, made out with a few drunk friends, and
groped the occasional boob here and there, but nothing all that intimate ever happened. It was usually the
result of being wasted and figuring that if there were no cute guys around | might as well pin Sharon to the
couch. And it never went beyond that until my thirties. Maybe | was too uptight or too immature, or maybe
all my friends were just uglier back then — whatever the reason, it took me a couple decades before |
found myself face to face with The Big Ween again. And much to my surprise, just like little plastic Sally, |
got sucked in by it.

At the risk of never getting laid again, | decided I'd write a book, because my experiences with women
affected me in such a radical and positive way | had to make sure other women knew about it. | wanted

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everyone who's ever thought about it to try it. So what if | repelled future lovers, terrified that their most
intimate secrets might wind up somewhere on page 84?

It was like I'd learned a whole new language that suddenly allowed me to communicate with. members of
my own gender in a way | never had before. As if sex wasn't already fabulous enough, I'd just doubled my
fun by transforming the other half of the population into possible bedmates. It did incredible things for my
confidence as a woman and as a sexual being, and whether or not | ever meet a woman | want to sleep
with again, I'm really grateful I've done it. Several things in particular about the experience really struck
me, because they were so remarkably different from being with a guy:

1. When you're with another chick, the roles can switch back and forth in a much more equal
and fluid way than they do with a guy. You can be the butch one, totally in control, throwing
her around in bed, and then switch to being submissive and girly. It obviously depends on who

you're sleeping with, since many women identify with being more dominant or submissive and
aren't up for flippy-flopping, but if you get with someone who hasn't chosen sides you can
switch back and forth and feel fully in either role, which | find incredibly hot. This is not to say
that you can't do something similar with men — I've been with some stunningly open and
experimental guys — but even if you put them in a dress, strap them down, and make them call
you Daddy, they still have a dick and you still have a pussy, which automatically makes them
more masculine and you more feminine. Without that biological reality, you're totally free to be
whatever, and | found it incredibly liberating and exciting to really feel one hundred percent on
both sides.

2. The way women orgasm is so different from the way guys do. We don't need to stop and
recharge before starting up again, so we can go on and on till the break of dawn without a
time-out. I've never in my life had nonstop sessions like the ones | had with girls. It’s crazy! It
can bring you to a state of prolonged excitement that's almost unbearable. There were times
when | seriously thought | was going to have a heart attack.

3. | found that every time | did something to her, | could imagine | was doing it to myself. So
much so that | could practically feel it even if | wasn't touching myself at all. The combo of
watching her get off and imagining exactly what it must feel like could bring me to orgasm.

4. Women's bodies are unbelievably soft! They're like the softest pillows in the world. This has
made me totally understand why men go apeshit over us. It also made me aware of my own
body's softness, and it made me feel incredibly sexy in a way | never had before.

5. Lastly, because we live in a society that has a large stick up its ass, and also because my
sexual hometown is Straightyville, sleeping with someone | wasn't “supposed” to made me feel
kind of kinky. This turned me on like nobody's business. | felt a teeny bit nasty, dirty, and
queer, and | think this helped inspire me to step outside my sexual box more than | ever had
before. | did stuff with girls that I'd always wanted to try — we went to sex clubs, tied each
other up, dabbled in S&M, and enjoyed the wide world of sex toys. | attribute a large part of
this to the fact that | was with like-minded kinky and adventurous souls whom | trusted and who
| was sexually compatible with. But also, the fact that they were women broke the dam of my
usual sexual behavior and opened me up to a flood of new experiences.

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The whole thing was so inspiring | immediately started handing out surveys and interviewing other people
to hear their stories and to get all angles. The more women | talked to, the more | learned that sleeping
with chicks was either on the majority's to do list or already crossed off. Even the people who really looked
like respectable, take-yourself-and-your-filthy-questionnaire-off-my-property types were game. And | have
to say that the majority of them gave the whole experience an enthusiastic two thumbs up. They couldn't
wait to spill the beans to me — in graphic detail, | might add — and | couldn't get over how inspiring it was
to learn that all these women are out there fearlessly pushing the sexual envelope. Girls are curious. Girls
are hot. Chicks dig ‘em!

When looking for people to survey, | cast as wide a net as possible. Tons of different factors go into
determining how we approach sex in general: religion, age, parental influence, general uptightness, tequila
shots...{n the fifties you saved yourself for marriage, while today everyone's starting to screw at an age
once associated with hopscotch and noogies. Asking the same questions of people from different planets
resulted in a wide variety of answers. And I'd like to say | represented all groups equally, but I'm afraid |
didn't — most of the women in the over-seventy-years-old demographic whom | dared approach treated me
like a filthy whore, so | wasn't able to get as wide an age range as | would have liked.

| spoke with straight chicks who've slept with straight chicks; straight chicks who've slept with lesbians;
straight chicks who've done both or neither or were too drunk to remember; lesbians who've slept with
straight chicks; bisexuals; undecideds; and my mother. | put up flyers on college campuses, online, in bars,
and in the lobby of a nursing home. One underlying theme kept repeating itself: women connect with
women. We can talk to women easily, relate to their issues, process our "stuff" and provide emotional
support on a level that suggests a deep spiritual connection. | know this is a big fat generalization —
certainly there are women I'd rather kick into an empty pool than talk to for three minutes — but in general
there's an emotional language specific to women that creates a certain bond. And when you take the leap
and bring good old sex into this equation, it can really make your hair stand up. Whether you're slamming
Mary in the bathroom stall or picking out china patterns with Tiffany, you stand to touch on something
deeper than you may have counted on.

This fact kind of tossed a monkey wrench into my plan. I'd set out to write a funny, sexy, sassy book that /
people could give as a gift or leave on their coffee tables to liven up a cocktail party. Something that

people could flip through, laugh at, and slap their hand over their mouths, squealing, “Oh my god, my

husband and | tag-teamed our nanny, too!" | do believe | accomplished this, but really delving into the

subject of sex with chicks made me realize that there’s a whole lot more | needed to talk about. Sex is

heavy, and sex with women can be as deep as it is liberating. It allows us to break free of heterosexual

roles and expectations and explore sex in a whole new way. We get to experience a similar body that'll give

us incredible insights into our own. The fact that I'd overcome my inhibitions about being with women

opened me up to trying things with them that | was too shy to try with a guy. It made anything possible,

and | know I'm a better lover today because of it.

Another thing that may take some by surprise is that it's possible to become attached even if you're
“straight.” If your experience lasts longer than a happy hour, it can have the added extra weight of the
aforementioned female bonding. If you're having hot sex with a chick on a regular basis, chances are very
good you're also connecting with her emotionally, which can totally screw up the free-and-easy “I'm not
hungry, I'll just pick” position we straight girls can go at it from. In fact, it’s not at all uncommon for
straight women to get into committed, monogamous relationships with other women. “lt was total

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addiction from the get-go," says Carrie, 41. "We were madly in love. | felt a certain connection and
understanding with her that | never got with any man. When we broke up, it was more for personality
reasons than the fact that she was a woman."

As for my own experience with dating women, | was more confused than committed. I'd never had crushes
on women, never done my signature calling-and-hanging-up routine, never turned down a piece of
chocolate cake because thoughts of Amanda had filled my stomach with butterflies. Then, all of a sudden, |
found myself with an incredible woman who got it and me, and the sex was hot as hell, and before | knew
it | was in a relationship. I'd never connected with anyone the way | did with her, and that definitely
articulated itself sexually as well. She listened to me as no guy ever did and she totally knew where | was
coming from. If | was weeping at a commercial, instead of looking at me as if | was insane she'd grab me a
tissue. She understood my mood swings and my feelings, and could fully articulate her own. ! felt nurtured
and safe and understood. But — unfortunately — | wouldn't/couldn't/didn't get all the way in. Because
although there's no questioning that | loved her, the feeling lacked a certain tug | was used to feeling for
guys. Granted, I've felt that tug for guys who live in their cars and refuse to hold my hand in public, but |
need the tug. It marks the difference between someone you're crazy about and someone you're in love
with. At least, that’s what | kept telling myself. Was | using the tug as an excuse because | was scared to be
with a woman for real? Was | tugless because she just wasn't the one? Am | just a big fat dick-lovin’' whore
and that's that?

It didn't help that | was constantly being bombarded with questions along the lines of "So, like, are you a
lesbian now, or what?" It's the first thing that everybody asked me when | told them | was seeing a chick,
and it brings up a question that needs to be addressed. What the hell does it mean to be straight or gay or
bi or whatever? And why does it matter?

Labels are indeed for cans and for lazy authors, and for people who are generally uncomfy without
everything being put in neat little boxes. Labels are hopelessly pointless. | know several women who were
out and proud and fully lesbian identified for decades who are now allegedly Mrs. John Straightypants.
Then there are women who were once staunch straights who are now shacking up with chicks. There are
bisexual women who like fucking gay boys, gay men who like fucking women who used to be men, people
who dress up like stuffed animals and fuck each other, and on and on and on. It's murky out there in
sexland. Humans have been screwing anything that'll hold still long enough since the beginning of time, and
trying to figure out what and why in order to catalogue it all is a big fat waste of time.

But | have a book to write here and | need to identify people somehow.

Ideally this book would be titled A Guide for Women Who Usually Have Sexual Relationships with Men and
Who Would Now Like to Explore Sexual Relationships and/or Brief Encounters with Women. Instead I'm
going to be a hypocrite and fall back on using the standard labels | so enjoy looking down upon. | hope that
everyone who reads this assumes the definition in my ideal title is what I'm talking about when | say
“straight” (I also refuse to put quotes around the word "straight" for the duration of the book). This may
sound nitpicky, but the world of sexual identification is a vast and political one that most heteros are
completely oblivious to, since we haven't had to go to battle with popular opinion over our sexual
preferences. Those of you who decide to step over the heterosexual boundaries may get an unexpected
taste of how the other half lives. You may suddenly be challenged by the heterosexual, bisexual, and
homosexual communities to define your sexuality, and chastised when you don't adhere to certain rules.

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You may also find that you're suddenly demanding some explanations from yourself.

For the majority of women | spoke with, however, leaving the warm, secure confines of Hetero World was
totally worth it. "You get to have this thrill ride with something taboo,” one experienced dabbler explained.
“It's like a secret weapon that ups your sexual confidence. It made me feel really powerful. And tingly.
There's something really sublime about connecting with another woman that way.” "There's something
about a woman's body that's just so sensual,” another wannabe said. "It seems kind of safe and terrifying at
the same time." | spoke with women who fantasize about sex with women but have no interest in making it
happen, those who only want to do it to please their boyfriends, and one experienced lady who said: "I'll
fuck anything when I'm drunk."

Whatever your reasons may be, you certainly have nothing to lose by trying it. For me, sleeping with a
woman was like taking a superhero pill. It inspired interesting discussions with friends, family, and a slew
of strangers. It opened me up to the incredibly diverse world of sexuality that I'd only dipped my toe into
before and which I'm now fascinated by. As with anything else in life that intrigues you, you'll feel a lot
worse for never trying it than you will for trying it and having it not work out. Why die wondering?

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She Comes First: The Thinking Man's Guide to Pleasuring a
Woman

by lan Kerner

About This Book

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Excerpt
Chapter One

She Comes First:
The Courtesy That Counts

Ladies first, gentlemen. When it comes to satisfying a woman, a little old-fashioned chivalry goes a long
way.

Lest you think the importance of such courtesy is overexaggerated, direct your attention to Lorena Bobbitt,
who, when questioned by police as to why she cut off her husband's penis, responded, “He always has an
orgasm and doesn't wait for me. It's unfair.”

Need one say more?

Men are designed for efficiency. It doesn't take much to get us aroused, it's a rather uncomplicated
process, and we tend to come only once before requiring a "refractory period” (also known as the part
where we turn over and start snoring). And depending upon our age, this period could last anywhere from a
couple of minutes to a couple of days.

The simple fact is that male orgasms come easy. Masters and Johnson dubbed it “ejaculatory inevitability"
and the late Dr. Alfred C. Kinsey, famous for interviewing thousands about their sex lives, declared that 75
percent of men ejaculate within two minutes. ,

But when it comes to the female orgasm, nothing's inevitable. As Sally Tisdale wrote:

Male sexuality seems different from mine fundamentally because nothing need be involved but
the head and shaft of the penis, no other part of the body need be troubled, touched,
undressed, or soiled ... the male orgasm has always seemed to me to burst almost from

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nowhere, to be infinitely more ready and willing than my own.

The female orgasm is a more complicated affair and often takes much longer to achieve during a session of
sexual activity. In particular, her first orgasm is the most difficult to accomplish, requiring persistent
stimulation, concentration, and relaxation. Is it any surprise, then, that researchers from the University of
Chicago declared in the 1994 Sex in America Survey that men reach orgasm during intercourse far more
consistently than do women, and that three fourths of men, but less than a third of women, always have
orgasms. Less than a third! That means more than two out of three women on average are consistently
denied their climax — good reason to start hiding the cutlery.

lrony, bitter and cruel, seems to be embedded into our respective processes of arousal: that a woman, so
unique in her sexuality, possessing both a clitoris — an organ designed solely for the production of pleasure
— as well as the ability to experience multiple orgasms during a single session of sexual activity, should so
often find this vast potential for blazing ecstasy smoldered — a magnificent conflagration left unlit — all for
lack of a match that can hold its flame.

It's not a problem with the match, say many men, but rather that a woman's fuse is too long. Perhaps, but
then this raises the question how long is too long? Studies, like those by Kinsey and Masters and Johnson,
have concluded that among women whose partners spent twenty-one minutes or longer on foreplay, only
7.7 percent failed to reach orgasm consistently. That's a shift of tectonic proportions — from two out of
three women not being able to reach climax to nine out of ten achieving satisfaction — all because of a
matter of minutes.

Few, if any, of the world's problems can be solved with a mere twenty minutes of attention, and yet here,
in the complex sociopolitical landscape of the bedroom, we have an opportunity to create bilateral
satisfaction. When put that way, in the context of sexual peace and equality, is twenty minutes of focused
attention, applied appropriately, really too much to ask, especially if it can save your sex life?

Take the path of the true gentleman: postpone your pleasure. As Sir Thomas Wyatt, father of the English
sonnet wrote, “Patience shall be my song.”

Ushering a woman into orgasm is both exhilarating and tiberating. When she comes first, anxiety and
pressure are dispensed with; you are emboldened, empowered to pursue with gusto the gratification that
awaits you — a climax that will be heightened all the more for having been postponed.

| love to make my girlfriend come, | love to experience the whole thing — the buildup and
release of waves of pleasure, the surrender to ecstasy, the spasm of satisfaction, the
momentary loss of self. It turns me on even more to know | made it happen." (David, 27)

What greater reward could a man ask for?
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Author: Kerner, [an

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Subject: Female orgasm

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by Susie Bright

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Excerpt
Introduction

Every February, | have a crisis of erotic conscience. This is the month in
which | must cull the best of my favorite erotic stories from the past year.
| make cruel decisions among dozens of perfectly excellent candidates I've
savored the past year. | sit there, reading the pages again and again,
asking myself, "Is this the story that no one will be able to resist?"

in the middle of this year's meltdown, | got a phone call from a saucy
men's magazine. It’s one of those newer "laddie" mags you hear so much
about, where girl celebrities in their underwear taunt readers but never
quite take it all off. As a child raised on Playboy's centerfold formula, |
am mystified. But laddie magazines don't offer that kind of third act.
They specialize in an endless loop of second-base titillation.

The reporter began his interview with me by asking how young men can
employ erotic lit as foreplay, to lubricate their female dates and get them

_to acquiesce to intercourse. “Isn't it easier to just pop in an X-rated DVD?"

he asked.

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| imagined my hand inserting a disk into a woman's vagina and then programming her to my will.

| didn't tell him that. | actually had no idea what he was talking about. I've never been on a date where my
beau seduced me with a porn movie. I'm usually as interested in having sex as my companion, so no tricks

are necessary.

Of course, I'm a pretty odd porn watcher. In my heyday, | watched more XXX videos than any other woman |

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know, and most men for that matter — because | reviewed them professionally. {'m in the X-Rated Hall of
Fame for porn criticism. | would load up dozens of tapes in front of my screen and watch them as fast as
possible with my reporter's notebook in my lap. Sure, | had to relent and masturbate every once in a while,
but even that was at breakneck speed. | was completely alone, except for occasional friends who would
walk in and make fun of me. They left when they realized my dedication to deadlines was devout. |
wouldn't have dreamed of subjecting a lover to my bizarre work ethic.

Clearly, in order to answer this laddie interview, | needed to speak to some ordinary young people to see if
porn DVDs and videos are part of their customary foreplay. Furthermore, what was so “easy” about it?

My first informant was rather cynical. "If 'easy' is what you're interested in," he said, “then you ply your date
with liquor until she's helpless. It doesn't matter whether you screen Barney or Paris Hilton. Your only task
is to maintain enough alertness to take advantage of her.”

"That's raping, not dating,” | protested.

He cut me off: "What do you think these stupid magazines are promoting? They're incapable of considering
women's sexual self-interest.”

Harsh? Yes, but | heard similar disdain from others. The most innocent response | got was from a college
student who said that it was just another twist on 1950s drive-in nostalgia. "When you go out with
someone, you like an excuse to get it on. You watch a dumb movie, and you start getting busy, ‘cause
neither of you cares what's on the screen.”

It's the American Puritan Reflex again: two people who pretend they're not going to have sex even though
that's exactly where they're heading. It's not easy, it's contrived.

It certainly is more challenging to tell your date an erotic story, or hand her some provocative pages to
read. Sharing is caring, but where to begin? The hard part is that such disclosures are so intimate — you're
showing her something private. It's the beginning of mutual rapport, and it's also taking a risk, the ultimate
aphrodisiac. |

| did talk to some couples who watch porn for fun...but they weren't exactly the laddie crowd. These were
longtime couples way past the dating phase. Porn night is part of their familiarity.

The most popular porn-watching group activity | found occurs at parties. Someone throws a kegger and
keeps a sleazy porn tape on the tube for the whole night's activities — the more ridiculous the better. Fat
actors, inflatable sheep, corncobs. Everyone who walks into the room mocks the action. Bets are placed on
the prospects of the most unattractive characters. Butt blemishes are tallied.

But the producers of the disdained video should not feel insulted. Unconsciously, they're still working their
magic. Even though all the partygoers make fun of the movie, they're influenced by the images of naked
sex. They don't want to be fat or pimply, but they do want to be hard and wet. People who went to such

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parties confided to me that even though the videos were stupid, they later found themselves in
compromising positions, even if they were all alone.

Would this have happened if they had gone to an erotic reading/performance or had sat down to write
their own erotic stories? Sure, it would've been even more exciting, but such acts require active intentions!

The thing about watching TV is that it's more inert than reading or any kind of self-expression. You walk by
it and you get a whiff of whatever. If you're tense or unhappy with sex, if you wish you were dating
someone else, the porno will make you even more uncomfortable. The TV isn't a good enough magician to
change that...its hallmark is its passivity. It sits there and grates on whatever is already under your skin. In
its ultimate mind-vise trick, it puts you to sleep.

How would | advise an enterprising young man to “use" a book like Best American Erotica? Well, first he'd
have to read it, which might be an adventure in itself. He might read it over and over, savoring each
illumination. This is all before the "date" even happens.

The night of the big event, he should put the book out in some prominent place, perhaps in the doorway,
so the young woman is forced to trip on it. What could be more simple?

The idea is to make her yelp "You're reading this???" or at least to raise an eyebrow. A better response
might be, "Ohmigod, can | borrow it?" So much can be gained by these first impressions.

At this point, the boy could feign surprise or humor: "Can you believe it? My mom left this in my car!" Or he
could be the suave playboy who whispers, “This is one of my favorites.”

Whatever the case, his date will be wondering what it is he likes so much in this provocative edition. Now
it's his move to uncloak himself. He must flip to the opening page of a story and make a nonchalant
comment: "This is pretty good."

The spell has now been cast. If the young woman replies, "Oh, no, the next story was so much hotter,” then
what can I say? You really have hit Easy Street.

Susie Bright
February 2005

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My Horizontal Life: a Collection of One-night Stands
by Chelsea Handler

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Synopses & Reviews

Publisher Comments:

In this raucous collection of true-life stories, actress and comedian Chelsea Handler recounts her time
spent in the social trenches with that wild, strange, irresistible, and often gratifying beast: the
one-night stand.

You've either done it or know someone who has: the one-night stand, the familiar outcome of a night spent
at a bar, sometimes the sole payoff for your friend's irritating wedding, or the only relief from a disastrous
vacation. Often embarrassing and uncomfortable, occasionally outlandish, but most times just a necessary
and irresistible evil, the one-night stand is a social rite as old as sex itself and as common as a bar stool.

Enter Chelsea Handler. Gorgeous, sharp, and anything but shy, Chelsea loves men and lots of them. My
Horizontal Life chronicles her romp through the different bedrooms of a variety of suitors, a
no-holds-barred account of what can happen between a man and a sometimes very intoxicated, outgoing
woman during one night of passion. From her short fling with a Vegas stripper to her even shorter dalliance
with a well-endowed little person, from her uncomfortable tryst with a cruise ship performer to her
misguided rebound with a man who likes to play leather dress-up, Chelsea recalls the highs and lows of her
one-night stands with hilarious honesty. Encouraged by her motley collection of friends (aka: her partners
in crime) but challenged by her family members (who at times find themselves a surprise part of the
encounter), Chelsea hits bottom and bounces back, unafraid to share the gritty details. My Horizontal Life
is one guilty pleasure you won't be ashamed to talk about in the morning.

Review:

"Opening with a cute story from when she was seven and photographed her parents having sex, stand-up
comedian Handler goes on to discuss the virtues of the one-night stand, which amount to having sex early
enough so you're not months into a relationship before you discover he's into ‘anal beads and duct tape.’ She
discusses her quest for sex with a ‘black man,’ which doesn't work out because the date she finds on
ChocolateSingles.com has a penis so large, she ‘would have had to be the size of the Lincoln Tunnel to
accommodate that thing.’ After him, there's a ‘little midget,’ but she sobers up before sleeping with him.
Next come a number of would-be partners with penises too small to consider. Finally, there's a guy Handler

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does sleep with, only an embarrassing incident involving a ‘giant skid mark’ prevents her from seeing him
again. By the end, Handler considers settling down with one man, which might actually net her more sex
than these mostly unconsummated one-night stands. Anyone who laughs at the mere mention of vaginas
and penises may find Handler's book almost as much fun as getting drunk and waking up in some stranger's
bed. Agent, Michael Broussard Dupree. (June)" Publishers Weekly (Copyright Reed Business Information,
Inc.)

Review:
“Offbeat and laugh-out-loud-funny essays... smart, funny, and quick read."(Library Journal Review)

Review:
"Where have | been all of Chelsea Handler's life? | had no idea how funny, how brilliant she is.she is too
clever for words."(Liz Smith, New York Post)

Synopsis: :
In this raucous collection of true-life stories, actress and comedian Handler recounts her time spent in the
social trenches with that wild, strange, irresistible, and often gratifying beast: the one-night stand.

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About the Author

Chelsea Handler was born in Livingston, New Jersey, and has toured the country doing stand-up. Now
settled in Los Angeles, she can be seen at the Comedy Store and the Laugh Factory, and as one of the stars
on Oxygen’'s Girls Behaving Badly. Chelsea has guest-starred on programs such as Spy TV, My Wife and Kids,
The Bernie Mac Show, and The Practice. Her stand-up will soon be televised on VH1's Love Lounge, Comedy
Central's Premium Blend, and HBO's broadcast of the Aspen Comedy Festival.

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Chapter One: Introductory Kink

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Nine years ago, | began working on a book called Different Loving: The

World of Sexual Dominance and Submission. When my coauthors and |

started out, we assumed we would be researching the small sexual subculture of dominance and submission
(also known as B&D and SM) to which we belonged. Basically, we sought to write a book about people like
us for people like us — people who knew what they liked but felt they needed to understand more about
kinky sex from a broad perspective.

On this assumption, we researched the history and practice of SM, and directed all our interview efforts at
people in the "Scene" (a nickname for the kinky subculture in the United States). Aiming for diversity, we
talked to as many different kinky people as possible — gay, straight, transgendered, bisexual. We recruited
them from kinky newsgroups on the Internet, sometimes according to their fetishes; we wrote letters to
SM/fetish organizations and attended club events, distributing flyers; and we asked friends to tell friends
about our book project.

In the end, we had hundreds of terrific interviews, covering not only an amazing spectrum of sexual
variations, but spanning a diverse range of religions, ages, races, and social classes. There was, however,
one serious limitation on the sample: All of the people we interviewed knew they were kinky and had
decided, at some point in their lives, to join the SM subculture to one degree or another.

In fact, the number of people who actually find their way into the Scene represents only a small fraction of
the total number of American adults who enjoy erotic variations that would be classed, clinically, as
sadomasochistic or fetishistic. During the course of our research, that larger group revealed itself to us. It
comprised a largely conventional, completely in-the-closet, and clinically unacknowledged segment of

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society that neither seeks out kinky contacts nor even admits to having kinky fantasies to anyone other
than a life-partner — or possibly a professional dominatrix.

My husband, Will Brame (who was my coauthor on Different Loving, along with Jon Jacobs), and | were at
first bemused when, at conservative literary gatherings, we would be deluged by people who asked us lurid
questions. At one such prim gathering where the women wore Birkenstocks and the men wore colorless
ties, one thirty-something repeatedly squealed loudly in disgust as we talked about our research. Later, she
approached us privately. Dreading yet another onslaught, we were taken aback when she asked us this
question: Her ex-boyfriend liked her to pee on him before sex. Would we consider this kinky?

Well, yes. We would. It's certainly kinky enough for there to be a clinical term for it (urophilia, or a love of
urine).

The squealer was only the first of an unfathomable number of ordinary, conservative people we've met
since who similarly react first with horror, then fascination, when we describe our work.

The most curious confessions came from a media coach. She told us later that she had been worrying all
day that we would show up in biker jackets, with chains around our necks and piercings everywhere else.
Our business suits apparently comforted her because by the time our meeting was over, she had confided
that while she was shocked by the people who "threw their waste on one another” (which is how she
characterized the squealer's boyfriend's fetish), she could easily understand why people would enjoy being
infantilized (put into diapers and treated like babies). She spoke quite fondly of the Elia Kazan movie
Babydoll, in which a grown woman sleeps in a crib and sucks her thumb. In fact, the coach talked quite a
long time about both fetishes, and with strong emotion too.

What was really going on in her mind? Why was peeing on someone else more morally reprehensible than
dressing in a diaper and peeing oneself? Is this some rule of sexual etiquette my parents never taught me:
You can pee on yourself, but not on your friends?

Once the book came out, the confessions reached a fever pitch. It seemed that every place we went, there
was always one person, and usually more, who wanted to tell us their secrets. On one book tour, a
Washington reporter confided that he had a foot fetish; a Southern bookstore manager whispered a throaty
tale about the time his girlfriend begged to be his "loveslave"; a California radio personality admitted to us:
that his ex-wife liked him to slap her face during sex; and so on. Occasionally, people blocked our path,
grabbed our elbows, hurriedly blurted out a sexual confession, and then darted away before we had time to
react. Hit-and-run confessors, as it were.

Where did they all come from? How many of them (or us) are really out there? At present, there are no
hard data on how many adults engage in consensual kinky sex of one type or another. Sex theorists have
made estimates ranging from 5 to 50 percent of the adult population, with the consensus opinion closer to
10 to 15 percent. From my own experiences, | know the interest is much higher than the consensus.

In 1987, under the handle "Angelique,” | founded an SM educational outreach/support group on
Compuserve. The group was part of a larger network of specialized sexuality support groups in

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Compuserve's Human Sexuality Forum (HSX). At the time, the HSX Forum had roughly 50,000 subscribers.
When we set up the new SM group, we expected only a tiny membership. This was partly because other
support groups already were in place for certain fetishes and partly because we required members to fill
out an online application stating that they had a personal interest in SM/fetish sexuality. Even though
people could apply under pseudonyms, we believed this requirement would help to filter out gawkers.

in three months, our membership swelled from an initial sign-up of a few dozen people to over 3,000. By
the second year of operation, we had drawn over 15,000 people to our membership roster and were hosting
the single busiest message board on HSX.

The advent of the Internet has been an eye-opener. For the first time, kinky people from around the world
— whether living in rural communities in the United States or major cities in the Third World — had free
access to materials that confirmed there are others just like them out there. And access them they did!

By 1994, the alt.sex.bondage newsgroup on UseNet (since abandoned) was attracting nearly half a million
visitors every week. Dozens of smaller newsgroups, for more specialized fetish interests, were springing up
left and right, as were IRC chat-rooms devoted to BDSM. By the following year, dozens of kinky sites had
set up shop on the World Wide Web, offering everything from amateur photos to personal diaries and
educational resources.

In 1996, | built gloria-brame.com and continued the work of Different Loving. One of my Web site's most
popular features is the “Kink Links Catalogue” (http: //gloria-brame.com/love8.htm), a resource guide to
over 1,500 SM/fetish Web sites. As of mid-1998, according to my research, there were roughly 3,000-plus
sites catering to SM/fetish interests. My site alone draws roughly 2,000 people daily from places as far
away as Peru, Bahrain, and Singapore.

Needless to say, | get a ton of E-mail. Most fall into two categories: people asking to be listed in my links
catalogue and people requesting personal advice.

The queries about listings are interesting for two reasons. First, there are so many of them! Second, while |
expected to see lots of bondage, spanking, cross-dressing, and infantilist sites, until the requests began
pouring in | had had no idea, for example, that there are enough people sexually aroused by toy balloons
(yes, the kind you blow up at kiddy parties) to support the hundred or

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